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Frank J. Martinez (FJM-2149)
THE MARTINEZ GROUP PLLC
55 Poplar Street, Suite 1-D
Brooklyn, New York 11201
718.797.2341 Telephone
FM@martinezgroup.com
Attorney Docket: 1079-119

                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF NEW YORK

-------------------------------------------------------------------- X
FONT DINER, INC.,                                                    :
                                                                     :   __ CV ____________
                                             Plaintiff,              :
                                                                     :
-against-                                                            :   COMPLAINT
                                                                     :
                                                                     :   (Jury Trial Demanded)
HARIBO OF AMERICA, INC.                                              :
                                                                     :
                                            Defendant.               :
-------------------------------------------------------------------- X

         Plaintiff FONT DINER, INC. (“Font Diner” or “Plaintiff”), by and through its attorneys,

The Martinez Group PLLC, for its Complaint against Defendant HARIBO OF AMERICA, INC.

(“Haribo” or “Defendant”), hereby alleges as follows:



                                       NATURE OF THE ACTION

1.       This is a civil action for copyright infringement in violation of the Copyright Act, 17

         U.S.C. § 101, et seq.



                                                       PARTIES

2.       Plaintiff is a corporation formed under the laws of the State of Minnesota with its

         principal place of business located at 3224 Anric Drive, Eau Claire, Wisconsin, 54701.



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3.       Plaintiff designs, creates, and licenses, among other products and services, custom

         typeface font software for others and specializes in creating font software.

4.       Plaintiff conducts business throughout the world, United States, State of New York, and

         County of Kings via Plaintiff’s commercial website at www.fontdiner.com.

5.       Defendant is a corporation formed under the laws of the State of Delaware with its place

         of business at 9500 Bryn Mawr Avenue Suite 700, Rosemont, Illinois 60018.

6.       Upon information and belief, Defendant is a wholly owned subsidiary of Haribo GmbH

         & Co. KG.

7.       Upon information and belief, Haribo GmbH & Co. KG is a corporation formed under the

         laws of Germany, with a principal place of business at Hans-Riegel-Strasse 1, 53129

         Bonn, Germany.

8.       Upon information and belief, Defendant is a candy manufacturer and distributor,

         distributing its confectionary goods by way of wholesalers, distributors, and retail sellers

         of goods throughout the United States.

9.       Upon information and belief, Defendant conducts business worldwide, in the United

         States, State of New York, and County of Kings by way of its website at

         www.haribo.com.



                                  JURISDICTION AND VENUE

10.      This Court has jurisdiction over this action under 28 U.S.C. §§ 1331, 1332, and 1338(a).

11.      This Court has personal jurisdiction over Defendant because, on information and belief,

         Defendant, in person or through an agent, has:




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                 a. transacted business within New York State, or contracted anywhere to supply

                    goods or services within New York State; or

                 b. committed a tortious act within New York State, causing injury to Plaintiff within

                    New York State, because Defendant (i) regularly does or solicits business,

                    engages in any other persistent course of conduct, or derives substantial revenue

                    from goods used or consumed or services rendered in New York State; or (ii)

                    expected or should have reasonably expected its infringing acts to have

                    consequences in New York State, and derives substantial revenue from interstate

                    or international commerce, including commerce within this district.

12.      Venue is proper in this district under 28 U.S.C. §§ 1391 and 1400(a).



                                 FACTS COMMON TO ALL CLAIMS

13.      Plaintiff is engaged in the business of creating works of typographic art and graphic

         design as well as designing, creating, manufacturing, marketing, and licensing the use of

         customized typeface font software for others.

14.      Plaintiff is the exclusive owner of the U.S. Copyright Registration Serial Number TX 6-

         589-427 (Computer Programs for a LUNCH BOX Font Collection), a showing of which

         is attached hereto as Exhibit A.

15.      Plaintiff’s copyright contains eleven typeface font computer programs, including, inter

         alia, the Stovetop typeface font software (hereinafter “Font Software” or “Stovetop”).

16.      A showing of the design embodied in Plaintiff’s Font Software is attached hereto as

         Exhibit B.

17.      Plaintiff’s copyright is valid and subsisting.



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18.      Plaintiff is the sole, exclusive sales and licensing agent for the Font Software.

19.      Licenses to use the Font Software are sold on a per font basis and/or for collections of

         fonts directly by Plaintiff or by way of authorized third-party vendors of licenses to use

         such goods.

20.      Plaintiff controls the use of its Font Software by means of its Font Diner End User

         License Agreement (“EULA”), which specifically prohibits the uses complained of

         herein without the purchase of a special license.

21.      A copy of Plaintiff’s EULA is attached hereto as Exhibit C.

22.      Plaintiff has sold, continues to sell, and derives significant revenue from the sale of

         licenses to use its Font Software.

23.      Plaintiff requires a license upgrade for use of its typeface font software in commercial,

         for-profit usage including, inter alia, for large volume commercial uses, as well as the

         uses complained of herein.

24.      Upon information and belief, Plaintiff’s records show that Galaxy Creative, Inc. (“Galaxy

         Creative”), a designer for Defendant, purchased a basic license to use Plaintiff’s Font

         Software on March 14, 2016.

25.      A showing of Galaxy Creative’s basic license purchase is attached hereto as Exhibit D.

26.      Upon information and belief, Galaxy Creative was commissioned by Defendant to

         provide graphic design services for the creation of packaging for Haribo Trick or Treat

         Mix candies, a showing of which is attached hereto as Exhibit E.

27.      Galaxy Creative is not a party to this action.

28.      Upon information and belief, Galaxy Creative is no longer in business, the corporation

         having been dissolved by the Illinois Secretary of State on November 10, 2017.



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29.      Upon information and belief, Defendant had reason to be aware that use of the Font

         Software on goods for sale required the purchase of a license upgrade which can only be

         purchased directly from Plaintiff.

30.      Upon information and belief, Plaintiff’s records further show that Defendant has not

         purchased the additional and required license upgrade to use the Font Software in the

         manners complained of herein.



                              DEFENDANT’S INFRINGEMENTS

31.      Upon information and belief, Defendant and/or entities acting at Defendant’s direction,

         has used and/or caused others to use unauthorized copies of the Font Software in the

         creation of packaging for Haribo Trick or Treat Mix candies, showings of which are

         attached hereto as Exhibit E.

32.      Defendant’s use of the Font Software in the manners complained of herein represent

         multiple and ongoing infringements of Plaintiff’s valid copyright in and to the Font

         Software.

33.      The natural, probable, and foreseeable result of Defendant’s wrongful conduct has been

         and continues to be to deprive Plaintiff of the benefits and revenue from the sale of

         appropriate licenses to use the Font Software in the manners complained of herein.

34.      Plaintiff has lost and will continue to lose substantial revenue from Defendant’s wrongful

         use, copying, and distribution of its Font Software.

35.      Upon information and belief, Defendant has refused to cease and desist from infringing

         upon Plaintiff’s valuable copyright despite several demands for such action.




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                                  FIRST CAUSE OF ACTION
                                 COPYRIGHT INFRINGEMENT
                                     17 U.S.C. § 101, et seq.

36.      Plaintiff repeats and realleges each and every allegation of the Complaint as set forth in

         Paragraphs 1 through 35, inclusive, and incorporates them herein by this reference.

37.      Upon information and belief, Defendant has impermissibly used or caused others to use

         the Font Software in the creation of packaging for Haribo Trick or Treat Mix candies.

38.      Defendant’s unauthorized use of Plaintiff’s copyrighted Font Software infringes

         Plaintiff’s exclusive rights under 17 U.S.C. § 106.

39.      Each unauthorized use constitutes an individual and distinct act of infringement.

40.      Plaintiff is entitled to recover damages it has sustained and will continue to sustain,

         together with any gains, profits, and advantages obtained by Defendant together with

         prejudgment interest as a result of the acts of infringement alleged herein.

41.      At present, the amount of such damages, gains, profits, and advantages cannot be fully

         ascertained by Plaintiff but are believed to be not less than $150,000 together with

         prejudgment interest and reasonable costs and fees or statutory damages under copyright

         law, whichever is greater.

42.      Plaintiff has no adequate remedy at law.



                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests and prays that this Court will:

1.       Find that Defendant has willfully infringed Plaintiff’s registered copyright;




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2.       Preliminarily and permanently enjoin and restrain Defendant, its officers, directors,

         principals, agents, servants, employees, successors, assigns, and all those in active

         concert or participation with them from:

         a.      imitating, copying, posting, distributing, or making unauthorized use of Plaintiff’s

                 registered copyrights, including infringing uses of the copyright complained of

                 herein; and

         b.      manufacturing, creating, producing, advertising, promoting, or displaying any

                 product or service bearing any simulation, reproduction, counterfeit, copy,

                 derivative version, or colorable imitation of Plaintiff’s copyrighted works;

3.       Direct that Defendant deliver for destruction at Defendant’s expense pursuant to 17

         U.S.C. § 503:

         a.      All media in Defendant’s possession bearing Plaintiff’s registered copyrights,

                 including, but not limited to, computer files, hard drives, solid state drives, flash

                 drives, disks, CD-ROM’s, DVD’s, and all other recorded media; and

         b.      All other items, including, but not limited to, bags and other goods showing the

                 use of Plaintiff’s copyrighted work, in Defendant’s possession or under its control

                 that were created through the unlawful use of Plaintiff’s copyrighted works;

4.       Direct the imposition of a constructive trust for all monies or benefits received by

         Defendant from the sale of services and goods that use or were created using infringing

         copies and/or unauthorized derivative works based upon Plaintiff’s copyrighted works;

5.       Direct that Defendant be required to pay Plaintiff’s actual damages in the amount of

         $150,000 per infringement pursuant to 17 U.S.C. § 504(b), or statutory damages pursuant




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         to 17 U.S.C. § 504(c), whichever is greater, for all gains, profits, and advantages derived

         by Defendant through its infringement of Plaintiff’s copyrights;

6.       Direct that Defendant be required to pay to Plaintiff such other damages that Plaintiff has

         sustained as a consequence of Defendant’s unauthorized use of Plaintiff’s copyrighted

         works;

7.       Direct that Defendant be ordered to make a written report within a reasonable period of

         time to be filed with the Court detailing the manner of compliance with the requested

         injunctive and mandatory relief above;

8.       Award Plaintiff the costs of this action together with reasonable attorneys’ fees pursuant

         to 17 U.S.C. § 505; and

9.       Award Plaintiff such other and further relief as the Court may deem just and proper.



                                         JURY DEMAND

Plaintiff Font Diner, Inc. hereby demands a trial by jury.

Dated: November 13, 2017                               Respectfully submitted,
                                                       THE MARTINEZ GROUP PLLC


                                               By:     /Frank J. Martinez/
                                                       Frank J. Martinez (FJM-2149)
                                                       Attorney for Plaintiff
                                                       Font Diner, Inc.

                                                       THE MARTINEZ GROUP PLLC
                                                       55 Poplar Street, Suite 1-D
                                                       Brooklyn, New York 11201
                                                       718.797.2341 Telephone
                                                       FM@martinezgroup.com




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